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FILED PARTIALLY UNDER SEAL

Exhibit 96

February 3, 2023 Letter Regarding The
November 7, 2022 Notice
Case 1:21-cv-11205-FDS Document 182-96

DIRECT DIAL

(617) 573-4800
DIRECT FAX

(61 7) 305-4800
EMAIL ADDRESS.

UAMES.CARROLL@SKADDEN .COM

Filed 01/06/25 Page 2 of 25

SKADDEN, ARPS, SLATE, MEAGHER & FLOM
500 BOYLSTON STREET
BOSTON, MASSACHUSETTS 02116

LLP

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TORONTO

February 3, 2023

BY FEDERAL EXPRESS

John F. Dew

Cohen, Kinne, Valicenti & Cook
28 North Street, 3rd Floor
Pittsfield, MA 01201

Samuel C. Kaplan

Boies Schiller Flexner LLP
1401 New York Avenue, N.W.
Washington, DC 20005

Maxwell V. Pritt Jeffrey Silver
Erika Nyborg-Burch Pennsylvania Insurance Company
Mariah J. Noah 10805 Old Mill Road

Boies Schiller Flexner LLP
44 Montgomery Street, 41 Floor
San Francisco, CA 94104

Omaha, NE 68154

RE: SPARTA Indemnification Claim dated November 7, 2022

Dear Counsel:

I write on behalf of SPARTA Insurance Company (“SPARTA”) in reference
to the Stock Purchase Agreement (“SPA”) among Pennsylvania General Insurance
Company (“PGIC”), OneBeacon Insurance Company (“OneBeacon”), and SPARTA
Insurance Holdings, Inc. (now known as SPARTA) dated as of March 12, 2007.

SPARTA has previously provided Pennsylvania Insurance Company (“PIC,”
formerly PGIC) with notice under Section 8.1 of the SPA of various claims that
relate to insurance policies originally issued by American Employers’ Insurance
Company (“AEIC”), for which PGIC agreed to indemnify SPARTA under the SPA.
(See, e.g., Correspondence attached as Ex. A.) To date, PGIC has never informed
SPARTA that it would assume the defense of any such AEIC claims.

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February 3, 2023
Page 2

On November 7, 2022, SPARTA advised PIC that SPARTA had expended
[Redacted on certain of the previously noticed claims incurred through September
30, 2022 (“the November 7, 2022 Section 8.3 Notice”). SPARTA requested that PIC
remit payment to SPARTA in that amount. Our records indicate that this notice was
delivered to Mr. Jeff Silver on November 8, 2022. To date, PGIC has not served
written notice that PIC disagrees with the amount of the Claim set forth in the
November 7, 2022 Section 8.3 Notice.

Because more than thirty (30) business days have passed since PIC’s receipt
of SPARTA’s November 7, 2022 Section 8.3 Notice, the amount set forth in that
notice “shall conclusively be deemed to have been accepted by the indemnifying
party and to be the agreed amount which the indemnified party, and in the event the
Purchaser is the indemnified party, the Company, are entitled to receive by way of
indemnification from the indemnification party.” (SPA, Section 8.3.) Accordingly,
PIC was required to, but did not, remit the agreed amount of to
SPARTA within five (5) business days of the amount being conclusively determined,
ie., December 15, 2022, the time provided in Section 8.4 of the SPA.

If we do not receive payment from you promptly, we will be required to take
further steps to seek relief from the Court for PIC’s breach of its indemnification
obligations. The payment should be sent to the bank account identified in Exhibit B
attached hereto.

We further note that PIC is responsible for the handling and defense of these
claims under the SPA and the Instrument of Transfer and Assumption between PGIC
and AEIC dated June 15, 2005. Until PIC confirms that it will satisfy its contractual
obligations to SPARTA by administering and paying these claims, SPARTA will
continue to protect its interest and to protect AEIC policyholders by handling claims
tendered against AEIC policies, under full reservation of rights, via A.G. Risk
Management, Inc. The amounts set forth in the Section 8.3 Notice were provided
without prejudice to SPARTA’s right to recover additional amounts expended in
furtherance of resolving these or other claims for which PIC is responsible, and to
SPARTA’s right to recover legal fees it has incurred or will incur due to PGIC’s
failure to satisfy its obligations to SPARTA. SPARTA will provide PIC with any
such additional amounts expended by SPARTA periodically.

Very truly yours,

fon Bu

James R. Carroll

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Case 1:21-cv-11205-FDS Document 182-96 — Filed 01/06/25

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Tuesday, June 1, 2021 1:18 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver-

Given the deadlines noted in my original email below, we reiterate our reque
noted timeframes that PIC will continue to protect SIC’s interests and manay
to do under the relevant agreements.

If we do not hear back from you as requested we will protect SIC’s interests
reimbursement of any expenses.

| look forward to your timely response.

Thank you.
Amy Gailent
Amy Gallent
U.S. General Counsel
COAG EW Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
wwvw..catalinare.com

From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Tuesday, June 1, 2021 10:01 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Warning: External email, use care with links & attachments

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Ms. Gallant:
Thank you for your e-mail.

We are currently reviewing the situation and will revert upon completion of
our review.

Jeff Silver

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, May 28, 2021 2:54 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Dear Mr. Silver,

Pursuant to the Transfer and Assumption agreement entered into between Pennsylvania General insurance
Company, now known as Pennsylvania Insurance Company (PIC), and American Employers’ Ins. Co. (AEIC),
now known as SPARTA Insurance Company (SIC), we write to confirm that PIC - which for 16 years has either
handled the AEIC claims itself or by virtue of an assignment to its then parent - will continue to honor its
obligations and assume, handle, and pay all claims. The Chief Liquidation Officer (CLO) of Bedivere Insurance
Company in Liquidation (BIC) has informed us that he has duly tendered all claims that arise from the AEIC
policies that BIC had been managing and paying on behalf of PIC pursuant to a reinsurance agreement
between BIC’s predecessor, One Beacon Insurance Company, and PIC.

SIC has been directly named and served in the following matters: (i) Bedivere Ins. Co. v. Triangle Enterprises,
Inc., No 17-Cl-00522, McCracken, KY Circuit Court; (ji) Roman Catholic Diocese of Syracuse v. Arrowpoint
Cap. et al., Case No 20-30663-5-mer, Adv. Pro. 21-50002-5-mer, US Bkcy. Ct. WDNY; and (iii) In re Diocese
of Buffalo, Case No. 20-10322 CLB, Adv. Pro. 21-01001, US Bkcy. Ct. WDNY; (iv) Missouri Department of
Labor and Industrial Relations Division of Workers’ Compensation claim, injury number 18-111944. SIC has
retained DLA Piper to protect SIC’s interest in the liquidation proceedings and all related matters. DLA has
obtained an extension to respond to Triangle's third party complaint through and including July 2, 2021. A copy
of DLA's confirmatory letter is attached. SIC has not yet been served with Great American's third party
complaint in the Triangle action. Filings in the Triangle and Great American actions are under seal and subject
to a protective order. We will provide the Triangle filings to you upon confirmation that they will be protected
under the terms of the protective order. We will provide the Great American filings to you once we are served
with them and confirm that they too will be protected under the order.

In the two bankruptcy coverage matters referenced above, we understand that there is a stay until June 2,
2021, and in the WC matter a response is required by June 16, 2021.

SIC has also been advised that the CLO of BIC has demanded that PIC establish an imprest account with
Armour Risk Management (ARM) by June 7, 2021, so that the WC claims for which PIC is responsible can
continue to be funded. We have also been informed that PIC is in discussions with ARM to continue managing
these claims and all other related claims on behalf of PIC.

We would be grateful if you would acknowledge receipt of this e-mail. Please also confirm within the
timeframes noted above that PIC will continue to protect SIC’s interest, and manage and pay claims as it is
obligated to do under the relevant agreements.

Thank you very much. Have a good weekend.

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Amy Gallent

Amy Gallent
U.S. General Counsel
eta pW a Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
www. catalinare.com

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information may be unlawful and is strictly prohibited.

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From: Josh Weiner

Sent: Thursday, July 8, 2021 9:43 AM

To: ‘Jeff Silver' <jeffreysilver@silver-law.net>

Ce: Amy Gallent <AmyGallent@Catalinare.com>

Subject: FW: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver,
This is the third email.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
www. catalinare.com

From: Josh Weiner

Sent: Thursday, July 8, 2021 9:41 AM

To: ‘Jeff Silver’ <jeffreysilver@silver-law.net>

Cc: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver,

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Per your request, and as we understand Pennsylvania Insurance Company has agreed to be bound by the Kentucky

Protective Order, please find attached the documents.

We look forward to hearing from you regarding the tenders.

1

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As before, | have broken up the documents into multiple PDFs because of size restrictions. Please let me know if you
have any further questions.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel
Catalina U.S, Insurance Services LLC

T: +1 860 773 3417
www.catalinare.com

From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Monday, June 28, 2021 1:57 PM

To: Josh Weiner <joshweiner@Catalinare.com>

Ce: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

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As we continue our review under a full reservation of rights, in the
Bedivere/Triangle/Sparta/Great American litigation, we do not have any of
the exhibits referred to in the various pleadings including any of the
insurance policies issued by American Employers’ Insurance Company.

Please forward all of those exhibits to my attention at your earliest
opportunity.

From: Josh Weiner <joshweiner@Catalinare.com>

Sent: Wednesday, June 23, 2021 2:50 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: FW: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

Here you go.

Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
www, catalinare.com

From: Josh Weiner

Sent: Wednesday, June 23, 2021 12:02 PM

To: ‘jeffreysilver @silver-law.net' <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

2

SPARTA Summary Judgment -- Clark Declaration Ex. 96 Page 8
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Mr. Silver,

Following up on the email correspondence below between you and Amy Gallent, please find attached 14 tenders for
defense and indemnity that SPARTA Insurance Company (“SIC”) has received from Triangle Enterprises, Inc. Pursuant to
the 2005 Transfer and Assumption Agreement between American Employers Insurance Company (“AEIC”) and
Pennsylvania General Insurance Company (“PGIC”), and the subsequent 2007 Stock Purchase Agreement between SIC’s
predecessor, SPARTA Insurance Holdings, and PGIC, these claims are not the responsibility of SIC and are appropriately
the responsibility of Pennsylvania Insurance Company, as successor to PGIC.

The following claims have already been forwarded to Armour Risk Management (“Armour”):

© Ausby Garrard & Martha Garrard v. Triangle Enterprises, Inc., 21-L-606 (Madison Cty., IL, 2021)
Charlie King v. Triangle Enterprises, Inc., 21-L-448 (St. Clair Cty., IL, 2021)

© Dixie Lou Carney v. Triangle Enterprises, Inc., 20-L-1021 (St. Clair Cty., IL, 2021)

e Jeffrey Glasow & Kathryn Glasow v. Triangle Enterprises, Inc., 21-L-177 (Madison Cty., IL, 2021)

* Steven Hosler v. Triangle Enterprises, Inc., 21-L-177 (St. Clair Cty., IL, 2021)

* David Latshaw v. Triangle Enterprises, Inc., 2021-L-0071 (St. Clair Cty., IL, 2021)

Rethel Lowe & Theresa Lowe v. Triangle Enterprises, inc., 21-L-57 (St. Clair Cty., IL, 2021)

Susan Lockhart-Stirland v. Triangle Enterprises, inc., 2122-CC00428 (St. Louis City., MO, 2021)

Pamela Rud v. Triangle Enterprises, inc., 21-L-286 (Madison Cty., MO, 2021)

Dennis French & Holy French v. Triangle Enterprises, inc., 21-L-320 (St. Clair Cty., IL, 2021)

Jackie Williams & Sue Williams v. Triangle Enterprises, Inc., 20-L-853 (St. Clair Cty., IL, 2024)

Lome Alexander v. Triangle Enterprises, Inc., 21-L-76 {Madison Cty., IL, 2021)

Rose Eads et al. v. Triangle Enterprises, inc., 20-L-243 (St Clair Cty., IL, 2621)

Urana Wold v. Triangle Enterprises, Inc., 2021-L-0338 (St Clair Cty., IL, 2021)

©

in addition, there are also two coverage cases, where SIC was sued directly by a third party as a result of alleged
liabilities arising out of policies issued by AEIC. These matters include Triangle Enterprises, inc. v. SPARTA Insurance
Company F/K/A American Employers’ Insurance Company, 17-Cl-522 (McCracken, KY, 2021); and Great American E&S
Insurance Company v. SPARTA Insurance Company F/K/A American Employers’ insurance Company, 17-Cl-00522
(McCracken, KY, 2021}. We continue to receive filings on some of the matters, in particular the diocese cases, and need
your confirmation that PIC will take over the handling and payment of these claims.

It has been over three weeks since we advised you about these matters and requested that you handle them as well as
the AEIC claims that Armour Risk Management (“ARM”) had been managing and paying prior to Bedivere going into
liquidation. As previously requested, please confirm that PIC has accepted financial and management responsibility for
these tenders and the AEIC claims currently in ARM’s possession, and will pay these claims. Please also provide contact
information for the person or entity to which SIC should forward these types of claims in the ordinary course, should SIC
continue to receive them. It is important that SIC receive this information as soon as possible given the time-sensitive
obligations associated with these and other claims.

Given the time-sensitive nature of this issue, if we do not hear back from you that PIC will handle and pay these claims,
we will continue to protect SIC’s interests and look to PIC for reimbursement of any expenses, as relayed in Amy
Gallent’s June 1 email to you.

Thank you.

Regards,
Josh

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Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
www.catalinare.com

From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Monday, June 14, 2021 2:58 PM

To: Amy Gallent <AmyGallent@ Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Warning: External email, use care with links & attachments

Thanks for your e-mail.

| can assure you that Pennsylvania Insurance Company never adjusted
AEIC or Sparta claims after we bought Pennsylvania Insurance Company
f/k/a Pennsylvania General Insurance Company from OneBeacon as a
clean shell on October 1, 2012.

Our investigation continues.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Monday, June 14, 2021 12:59 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Jeff-
Thanks for your email.

AEIC claims and liabilities were fully, absolutely and unequivocally transferred to and assumed by
Pennsylvania General Insurance Company (PGIC) (now known as Pennsylvania Insurance Company
(PIC)), before the sale of AEIC to SPARTA in 2007. The AEIC claims and liabilities were fully
guaranteed by OBIC (whose parent, of course, was OBIG which is now Intact Specialty).

SPARTA never handled, managed, or paid any AEIC claims or suits. Claims and suits were always,
without exception, handled, managed and paid by PGIC, OBIC, OBIG and later by Bedivere, either
directly or through TPAs (including Resolute Management and Armor Risk Management) working for
and at the direction of these responsible entities.

Amy
Amy Gallent
U.S. Genera! Counsel
(ORG EYE brn’ Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
www. catalinare.com

SPARTA Summary Judgment -- Clark Declaration Ex. 96 Page 10
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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Friday, June 11, 2021 10:36 AM

To: Amy Gallent <AmyGallent@ Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

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No problem.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, June 11, 2021 9:09 AM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Jeff-

| should be in a position to respond to your request early next week. Over the years we have dealt with a
number of different parties so we will need to gather that information.

Have a good weekend.

Amy

Amy Gallent

U.S. General Counsel
Ce Ve Aon Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
www, catalinare.com

From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Friday, June 11, 2021 8:18 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Warning: External email, use care with links & attachments

Amy:

As we continue to review, how were claims handled over the last years with
your company since obviously Pennsylvania Insurance Company was not
involved in any way.

Your early response is appreciated.

Jeff Silver

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From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Monday, June 7, 2021 1:58 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver-
Thank you for your email.

Attached, as requested, is the Transfer and Assumption Agreement (the “T&AA”) between American
Employers Insurance Company (AEIC) and Pennsylvania General Insurance Company (PGIC) (which we
understand was renamed Pennsylvania Insurance Company in 2012) transferring the liabilities from AEIC to
PGIC, dated June 15, 2005. Sparta Insurance Holdings acquired the clean AEIC shell in 2007 from PGIC and
renamed it SPARTA Insurance Company (SIC). Also attached is the Stock Purchase Agreement among PGIC,
OneBeacon Insurance Company (“OBIC”), as Guarantor, and Sparta Insurance Holdings, Inc., dated March
12, 2007, which we attach as it includes an indemnity by PGIC against any failure by PGIC to perform any of
its obligations under the T&AA.

Finally, attached please find a Transfer and Assumption Agreement between OBIC and PGIC, dated Oct. 1,
2012.

We look forward to your response once you have had an opportunity to review the attached.

Amy Gallent
Army Gallent
U.S. Genera! Counsel
(ORWYE ent Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
www. catalinare.com

From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Sunday, June 6, 2021 9:22 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

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As we continue to review this matter, please provide the assignment from Pennsylvania Insurance Company to its parent
that you referred to in the below e-mail and any other relevant documents because current ownership of Pennsylvania
Insurance Company acquired it in June 2012 as a clean shell and has never heard of American Employers’ Ins. Co.

until approximately 30 days ago.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, May 28, 2021 2:54 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Dear Mr. Silver,

SPARTA Summary Judgment -- Clark Declaration Ex. 96 Page 12
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Pursuant to the Transfer and Assumption agreement entered into between Pennsylvania General Insurance
Company, now known as Pennsylvania Insurance Company (PIC), and American Employers’ Ins. Co. (AEIC),
now known as SPARTA Insurance Company (SIC), we write to confirm that PIC - which for 16 years has either
handled the AEIC claims itself or by virtue of an assignment to its then parent - will continue to honor its
obligations and assume, handle, and pay all claims. The Chief Liquidation Officer (CLO) of Bedivere Insurance
Company in Liquidation (BIC) has informed us that he has duly tendered all claims that arise from the AEIC
policies that BIC had been managing and paying on behalf of PIC pursuant to a reinsurance agreement
between BIC’s predecessor, One Beacon Insurance Company, and PIC.

SIC has been directly named and served in the following matters: (i) Bedivere Ins. Co. v. Triangle Enterprises,
Inc., No 17-Cl-00522, McCracken, KY Circuit Court; (ji) Roman Catholic Diocese of Syracuse v. Arrowpoint
Cap. et al., Case No 20-30663-5-mer, Adv. Pro. 21-50002-5-mer, US Bkcy. Ct. WDNY; and (iii) In re Diocese
of Buffalo, Case No. 20-10322 CLB, Adv. Pro. 21-01001, US Bkcy. Ct. WDNY; (iv) Missouri Department of
Labor and Industrial Relations Division of Workers’ Compensation claim, injury number 18-111944. SIC has
retained DLA Piper to protect SIC’s interest in the liquidation proceedings and all related matters. DLA has
obtained an extension to respond to Triangle's third party complaint through and including July 2, 2021. A copy
of DLA's confirmatory letter is attached. SIC has not yet been served with Great American's third party
complaint in the Triangle action. Filings in the Triangle and Great American actions are under seal and subject
to a protective order. We will provide the Triangle filings to you upon confirmation that they will be protected
under the terms of the protective order. We will provide the Great American filings to you once we are served
with them and confirm that they too will be protected under the order.

In the two bankruptcy coverage matters referenced above, we understand that there is a stay until June 2,
2021, and in the WC matter a response is required by June 16, 2021.

SIC has also been advised that the CLO of BIC has demanded that PIC establish an imprest account with
Armour Risk Management (ARM) by June 7, 2021, so that the WC claims for which PIC is responsible can
continue to be funded. We have also been informed that PIC is in discussions with ARM to continue managing
these claims and all other related claims on behalf of PIC.

We would be grateful if you would acknowledge receipt of this e-mail. Please also confirm within the
timeframes noted above that PIC will continue to protect SIC’s interest, and manage and pay claims as it is
obligated to do under the relevant agreements.

Thank you very much. Have a good weekend.

Amy Gallent

Amy Gallent
U.S. General Counsel
(On WEN Rent Catalina U.S. Insurance Services LLC

T: +1 860 773 3441
www. catalinare.com

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Catalina U.S. Insurance Services LLC
Member of Catalina Holdings (Bermuda) Lid

ORG yN BINT

July 26, 2021

VIA OVERNIGHT FEDEX AND EMAIL

Jeffrey Silver One Beacon Insurance Company
General Counsel One Beacon Lane

Pennsylvania Insurance Company Canton, Massachusetts 02021
10805 Old Mill Road Attention: General Counsel

Omaha, NE 68154

One Beacon Insurance Company
One Beacon Lane

Canton, Massachusetts 02021
Attention: Treasurer

Dear Mr. Silver, Treasurer, and General Counsel:

| write on behalf of Sparta Insurance Company (“SIC”) to provide notice of indemnification
pursuant to Sections 2.19, 8, and 12.9 of the August 9, 2007 Stock Purchase Agreement (“SPA”) between
Pennsylvania General Insurance Company (“PGIC’”), later re-named Pennsylvania Insurance Company
(“PIC”), and Sparta Insurance Holdings, Inc. (“SIH”). This notice relates to prior notices SIC has made
to PIC concerning claims, tenders, and other legal process that SIC has received, which all relate to
policies issued by American Employers’ Insurance Company (“AEIC’).

As you know, Section 2.19(b) of the SPA states:

All liabilities of [AEIC] that have arisen or could arise, under any insurance contract or any
reinsurance treaty or otherwise, have been and will be assumed by Seller [PIC f/k/a PGIC]

. The Company [AEIC] has, and will at Closing have, no liabilities of any nature,
whether absolute, accrued, contingent or otherwise or whether due or to become due,
other than those assumed by Seller pursuant to the Reinsurance Agreement.'

Accordingly, in 2007, SIH acquired AEIC as an empty shell, free from any of AEIC’s then-existing
or future liabilities. Notwithstanding that fact, as SIC has previously informed you, SIC has been receiving
and continues to receive claims allegedly arising from policies issued by AEIC prior to SIH’s 2007
acquisition of AEIC. Specifically, we have previously notified you of the following claims, all of which are
based allegedly on AEIC policies:

1. Two direct third-party actions against SIC in Bedivere Ins. Co. v. Triangle Enterprises, Inc.,
No 17-Cl-00522, McCracken, KY Circuit Court.

' See also June 15, 2005 Instrument of Transfer and Assumption between Pennsylvania General Insurance Company and
American Employers’ Insurance Company.

3838 Camino Del Rio North, Suite 305, San Diego, CA 92108 | +1 (619) 278 4090 | www.catalinare.com

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2. Two bankruptcy adversary proceedings: (1) Roman Catholic Diocese of Syracuse v.
Arrowpoint Cap. et al., No 20-30663-5, Adv. Pro. 21-50002-5 (N.D.N.Y. Bankr.); and (2) In
re Diocese of Buffalo, No. 20-10322, Adv. Pro. 21-01001 (W.D.N.Y. Bankr.).

3. A Missouri Department of Labor and Industrial Relations Division of Workers’
Compensation claim, injury number 18-111944.

4. Fourteen tenders for defense and indemnity that SIC received from Triangle Enterprises,
Inc.

We previously requested that PIC confirm that it will handle, manage, and pay these claims as
well as other AEIC claims that Armour Risk Management was managing and paying. We also informed
you that, to the extent PIC would not handle, manage, and pay those claims, SIC would protect its
interests as necessary with respect to each of them and look to PIC for reimbursement for the cost of
that necessary action.

In addition to the foregoing notices, SIC has now also received a California Division of Workers’
Compensation Notice of Hearing, which relates to an AEIC policy, as well as three subpoenas from
parties in the Campbell, et al. v. Armstrong International, Inc., et al. No. 2021-CP-40-02286 (S.C.
Richland Cnty. Ct. Com. Pleas), Murphy Dudley, et al. v. Covil Corporation, et al., No. 2021-CP-40-01364
(S.C. Richland Cnty. Ct. Com. Pleas), and the Carpenter, et al. v. Covil Corporation, et al., No. 2021-CP-
40-04475 (S.C. Richland Cnty. Ct. Com. Pleas) matters, which seek information related to purported
AEIC insurance policies. We now ask that PIC confirm that it will handle, manage, and pay these claims
or proceedings as well.

Section 8.1 of the SPA states:

Seller [PIC f/k/a PGIC] agrees to indemnify and hold Purchaser [SIH, now SIC] harmless
of and from any loss, cost, expense, claim, interest, fine, penalty, deficiency, obligation,
liability or damage, including, without limitation, reasonable attorneys’ fees, accountants’
fees and other investigatory fees and out-of-pocket expenses, actually expended or
incurred by Purchaser or the Company (collectively, “Losses’), arising out of or resulting
from (i) any breach of representation or warranty (including any misrepresentation in, or
omission from, any certificate or other document furnished or to be furnished by the Seller
to Purchaser hereunder), or nonfulfillment of any covenant or agreement on the part of
Seller under this Agreement; (ii) the failure by Seller to perform any of its obligations under
the Reinsurance Agreement; (iii) any Loss arising out of or resulting from the existence of
Company prior to the Closing or the conduct of the Business or other operations by or of
Company prior to the Closing; (iv) all filing fees and administrative assessments for
insurance guaranty funds and/or insurance department expenses and all other
assessments, levies or liabilities of any kind arising out of and/or associated with the
conduct of the Business of the Company prior to the Closing; (v) any matter relating to any
employee benefit plan or arrangement in effect prior to the Closing; and (vi) all actions,
suits, proceedings, demands, assessments, judgments, costs and expenses incident to
any of the foregoing (any and all of which are hereafter referred to as a “Claim’).

In addition to the above and previous requests that SIC has made to PIC concerning claims
allegedly arising from AEIC policies that SIC has received, SIC provides this notice of PIC’s obligation to
indemnify and hold harmless SIC from all “loss, cost, expense, claim, interest, fine, penalty, deficiency,
obligation, liability or damage, including, without limitation, reasonable attorneys’ fees, accountants’ fees
and other investigatory fees and out-of-pocket expenses, actually expended or incurred by” SIC in
connection with any of the foregoing matters pursuant to SPA Section 8.1. Further, SIC provides the
same notice of PIC’s obligation to indemnify and hold harmless SIC from the same in connection with

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any other matters purportedly arising, now or in the future, from AEIC policies in which SIC is improperly
identified as the party responsible for any obligation or liability arising from AEIC policies.

Pursuant to SPA Section 8.1, SIC requests that PIC notify SIC within ten business days of receipt
of this letter as to whether PIC will assume control and defense of the foregoing claims and any future
related claims at PIC’s expense. Because the above-identified matters remain ongoing and SIC has
incurred, and is incurring, ongoing expense with respect to each of them (which ultimately is the
responsibility of PIC), the dollar amount of the foregoing claims for indemnification cannot be determined
at this time. Pursuant to SPA Section 8.3, SIC will provide written notice to PIC of the dollar amount of
each of the foregoing claims after SIC has determined such dollar amount(s).

SIC reserves all rights and waives none.

Sincerely,

Joshua Weiner

Joshua Weiner

Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC
Direct: (860)773-3417
JoshWeiner@Catalinare.com

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SKADDEN, ARPS, SLATE, MEAGHER & FLOM

500 BOYLSTON STREET
BOSTON, MASSACHUSETTS 02116

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FAX: (617) 573-4822
www.skadden.com
DIRECT DIAL
617-573-480 |
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JAMES.CARROLL@SKADDEN.COM

September 27, 2021

BY EMAIL AND OVERNIGHT MAIL

Samuel C. Kaplan

Boies Schiller Flexner LLP
1401 New York Avenue NW
Washington, DC 20005

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LLP

FIRM/AFFILIATE. OFFICES

CHICAGO
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TORONTO

RE: SPARTA Insurance Company v. Pennsylvania General
Insurance Company, No. 1:21-11205-DLC (D. Mass)

Dear Mr. Kaplan:

I write on behalf of Sparta Insurance Company (“SIC”) to provide
notice of indemnification pursuant to Sections 2.19, 8, and 12.9 of the August 9,
2007 Stock Purchase Agreement (“SPA”) between Pennsylvania General Insurance
Company (“PGIC”), later re-named Pennsylvania Insurance Company (“PIC”), and
SPARTA Insurance Holdings, Inc. (“SIH”). This notice relates to prior notices SIC
has made to PIC -- which have gone unanswered -- concerning claims, tenders, and
other legal processes that SIC has received, which all relate to policies issued by

American Employers’ Insurance Company (“AEIC”).

As you know, Section 2.19(b) of the SPA states:

All liabilities of the Company [AEIC] that have arisen or could arise,
under any insurance contract or any reinsurance treaty or otherwise,

have been and will be assumed by Seller [PIC f/k/a PGIC] ....

The

Company [AEIC] has, and will at Closing have, no liabilities of any
nature, whether absolute, accrued, contingent or otherwise or whether

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due or to become due, other than those assumed by Seller pursuant to
the Reinsurance Agreement.!

Accordingly, in 2007, SIH acquired AEIC as an empty shell, free
from any of AEIC’s then-existing or future liabilities. Notwithstanding that fact, SIC
has been receiving and continues to receive claims allegedly arising from policies
issued by AEIC prior to SIH’s 2007 acquisition of AEIC.

SIC has received these claims as a result of PIC’s refusal to satisfy its
obligations and handle AEIC claims. In May 2021, SIC was notified by the
liquidator of Bedivere Insurance Company (“BIC”) (formerly known as One Beacon
Insurance Company (“OBIC”)) that AEIC claims would be tendered to PIC as the
party responsible for those claims. Although PIC agreed to fund certain claims on an
interim basis under a reservation of rights, it has denied responsibility for other
AEIC claims. Moreover, although PIC entered into an agreement with A.G. Risk
Management (“AGRM7”) to manage all AEIC claims, PIC has since refused to accept
the tender of AEIC claims from BIC’s liquidator. As a result -- in order to protect
policyholders and remove them from a dispute between two insurance companies --
SIC has accepted the tender of AEIC claims from BIC’s liquidator under a
reservation of rights. AEIC will seek full indemnification and reimbursement from
PIC for handling these claims and any received in the future.

In addition to the claims that SIC has previously tendered to PIC, SIC
has received the following additional claims based on AEIC policies:

1. Acomplaint served on Triangle Enterprises, Inc.’s agent for service
of process on July 14, 2021 in the matter of Music v. BASF
Catalysts, LLC, et al., No. 21-CI-00100 (Johnson Cir. Ct. KY).

2. A tender letter and request for documents from The Church of Jesus
Christ of Latter-day Saints and affiliated entities, dated July 21,
2021.

3. SIC received notice from A.G. Risk Management of an ongoing
litigation in which Bedivere Insurance Company is a plaintiff,
which concerns AEIC policy liabilities. See Bedivere Ins. Co., et al.
y. Chanel, Inc., et al., Index No. 651145/2019 E.

4. A tender from the University of Michigan concerning AEIC policy
No. A13-8208-001. Sparta received a communication from Laura

! See also SPA Section 8.1; June 15, 2005 Instrument of Transfer and Assumption between

Pennsylvania General Insurance Company and American Employers’ Insurance Company.

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Cohen of Covington & Burling LLP reporting lawsuits involving
allegations of sexual misconduct against the University of
Michigan, which are purportedly covered under the attached policy.

5. A tender concerning a workers compensation claim by Clyde
Brown.

6. Acomplaint served on Triangle Enterprises, Inc.’s agent for service
of process on September 2, 2021, in the matter of Hack v. Advance
Stores Co., Inc., et al., No. 21-L-0807 (St. Clair Cnty. Cir. Ct. IL).

7. A subpoena relating to AEIC policies sent to SIC by letter dated
September 15, 2021 concerning Childers v. Davis Mechanical
Contractors, Inc., et al. No. 2021-CP-40-03484.

8. A tender dated September 15, 2021 from Cissell Manufacturing
Company concerning AEIJC Policy No. ASW535386.

9. A tender dated September 15, 2021 from Associated Insulation of
California concerning AEIC Policy No. AXXXXXXXX.

10. A tender dated September 15, 2021 from Pyro Engineering
concerning AEIC Policy No. AAW454543.

11. A tender dated September 15, 2021 from Sealite, Inc. concerning
AEIC Policy No. AWW666984.

12. A tender dated September 17, 2021 from M&O Insulation Company
concerning AEIC Policy No. AW 8502909 (Wesson).

13. A tender dated September 17, 2021 from M&O Insulation Company
concerning AEIC Policy No. AW 8502909 (Geiger).

Please immediately confirm that PIC will handle, manage, and pay
these claims or proceedings -- as well as the other AEIC claims that Armour Risk
Management was managing and paying, and the prior AEIC claims that SIC
previously tendered to PIC.

Section 8.1 of the SPA states:

Seller [PIC f/k/a PGIC] agrees to indemnify and hold Purchaser [SIH,
now SIC] harmless of and from any loss, cost, expense, claim, interest,
fine, penalty, deficiency, obligation, liability or damage, including,

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September 27, 2021
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without limitation, reasonable attorneys’ fees, accountants’ fees and
other investigatory fees and out-of-pocket expenses, actually expended
or incurred by Purchaser or the Company (collectively, “Losses”),
arising out of or resulting from (i) any breach of representation or
warranty (including any misrepresentation in, or omission from, any
certificate or other document furnished or to be furnished by the Seller
to Purchaser hereunder), or nonfulfillment of any covenant or
agreement on the part of Seller under this Agreement, (ii) the failure by
Seller to perform any of its obligations under the Reinsurance
Agreement; (iii) any Loss arising out of or resulting from the existence
of Company prior to the Closing or the conduct of the Business or other
operations by or of Company prior to the Closing; (iv) all filing fees
and administrative assessments for insurance guaranty funds and/or
insurance department expenses and all other assessments, levies or
liabilities of any kind arising out of and/or associated with the conduct
of the Business of the Company prior to the Closing; (v) any matter
relating to any employee benefit plan or arrangement in effect prior to
the Closing; and (vi) all actions, suits, proceedings, demands,
assessments, judgments, costs and expenses incident to any of the
foregoing (any and all of which are hereafter referred to as a “Claim’’).

As we previously informed you, to the extent PIC does not handle,
manage, and pay these AEIC claims, SIC will protect its interests as necessary with
respect to each of the claims and look to PIC for reimbursement for all costs incurred
in that necessary action.

In addition to the above and previous requests that SIC has made to
PIC concerning claims allegedly arising from AEIC policies that SIC has received,
SIC provides this notice of PIC’s obligation to indemnify and hold harmless SIC
from all “loss, cost, expense, claim, interest, fine, penalty, deficiency, obligation,
liability or damage, including, without limitation, reasonable attorneys’ fees,
accountants’ fees and other investigatory fees and out-of-pocket expenses, actually
expended or incurred by” SIC in connection with any of the foregoing matters
pursuant to SPA Section 8.1. Further, SIC provides the same notice of PIC’s
obligation to indemnify and hold harmless SIC from the same in connection with any
other matters purportedly arising, now or in the future, from AEIC policies in which
SIC is identified -- improperly -- as the party responsible for any obligation or
liability arising from AEIC policies.

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September 27, 2021
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Pursuant to SPA Section 8.1, SIC requests that PIC notify SIC within
ten business days of receipt of this letter as to whether PIC will assume control and
defense of the foregoing claims and any future related claims at PIC’s expense.
Because the above-identified matters remain ongoing and SIC has incurred, and is
incurring, ongoing expense with respect to each of them (which ultimately is the
responsibility of PIC), the dollar amount of the foregoing claims for indemnification
cannot be determined at this time. Pursuant to SPA Section 8.3, SIC will provide
written notice to PIC of the dollar amount of each of the foregoing claims after SIC
has determined such dollar amount(s).

SIC reserves all rights and waives none.

Very truly yours,

yeh Ko 2P

ames R. Carroll

cc: Jeffrey Silver
One Beacon Insurance Company, General Counsel
One Beacon Insurance Company, Treasurer

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Catalina U.S. Insurance Services LLC

Administrator on behalf of:

Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)

SPARTA Insurance Company

ProBuilders Specialty Insurance Company

GING UABINE

Members of Catalina Holdings (Bermuda) Ltd
August 16, 2022

Mr. Silver,

Please see attached an update from SPARTA Insurance Company (“SIC”) to Pennsylvania Insurance
Company (“PIC”) regarding the American Employers’ Insurance Company (“AEIC”) claims and
payments made by SIC.

SIC plans to provide periodic reports to PIC of the status of the claims made and paid. To the extent
that PIC requests further or different information, please contact me promptly.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel

(OAW AYE heat

Catalina U.S. Insurance Services LLC

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Catalina U.S. Insurance Services LLC

Administrator on behalf of:

Alea North America Insurance Company

National American Insurance Company of California
National Home Insurance Company (RRG)

SPARTA Insurance Company

ProBuilders Specialty Insurance Company

Ore Ny

Members of Catalina Holdings (Bermuda) Ltd
September 28, 2022

Mr. Jeffrey Silver
10805 Old Mill Road
Omaha, Nebraska 68154

Re: AEIC Update

Dear Mr. Silver,

Please find enclosed an encrypted thumb drive containing an update from SPARTA Insurance
Company (*SIC") to Pennsylvania Insurance Company (“PIC”) regarding the American Employers’
Insurance Company claims and payments made by SIC.

SIC plans to provide periodic reports to PIC of the status of the claims made and paid. To the extent
that PIC requests further or different information, please contact me promptly.

Thanks, :

Josh

Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

T: +1 860 773 3417
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Please remit payment to the bank account listed below via wire transfer in accordance with the
following instructions:

Corresponding Bank Name: JPMorgan Chase Bank, NA
New York, NY 10017
ABA#|_ Redacted
SWIFT:| Redacted |
Beneficiary A/C Number: |__Redacted |
Beneficiary A/C Name: | Redacted

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